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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

BANK OF AMERICA, N.A.                     *
                                          *
            Plaintiff,                    *                Civil Action No. 16-02874
                                          *
VERSUS                                    *                Judge Nannette Jolivette Brown
                                          *
A WORLD OF SMILES, LLC f/k/a              *                Magistrate Judge Sally Shushan
KIDS 2 ADULTS DENTAL LLC,                 *
BRIGETTE N. JONES McGEATHY, and           *                Section G(1)
NORMAN L. McGEATHY III                    *
                                          *
            Defendants.                   *
                                          *
*******************************************

                    MEMORANDUM IN SUPPORT OF PLAINTIFF’S
                      MOTION FOR SUMMARY JUDGMENT

       Plaintiff, Bank of America, N.A. (“Bank of America”), respectfully submits this

Memorandum in Support of Its Motion for Summary Judgment. As set forth below, this is a

straightforward collection suit in which Bank of America seeks to recover amounts due under a

Project Finance Term Loan Agreement. In particular, Defendant, A World of Smiles, LLC f/k/a

Kids 2 Adults Dental, LLC (“Borrower”), borrowed more than $600,000 from Bank of America

to finance Borrower’s dental practice. Defendants, Brigette N. Jones and Norman L. McGeathy

III (“Guarantors”), personally guaranteed Borrower’s obligations to Bank of America.

       Borrower has defaulted under the terms of the Project Finance Term Loan Agreement,

which prompted this litigation. Because there are no genuine issues of material fact and because

Bank of America is entitled to summary judgment as a matter of law, the Court should grant

Bank of America’s motion for summary judgment.




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                                       BACKGROUND

       A.      Borrower’s Default Under Original Project Finance Term Loan Agreement.

       On May 1, 2011, Brigette N. Jones and Norman L. McGeathy III, as representatives of

the borrowing entity, executed a Project Finance Term Loan Agreement (the “Loan

Agreement”) with Bank of America in the principal amount of $600,000. (See Affidavit of

Roger Hamilton (the “Hamilton Aff.”) ¶ 3 and attached Exhibit A.) The Loan Agreement states

that it “is a promissory note, security agreement and guaranty, all of which are to be construed

together and binding upon the parties.”     (See Hamilton Aff. ¶ 4 and Exh. A at p. 1.) In

conjunction with the Loan Agreement, Guarantors unconditionally guaranteed the payment of all

Indebtedness owed by Borrower under the Loan Agreement. (See Hamilton Aff. ¶ 5 and Exh. A

at Guaranty § 1.)

       The Loan Agreement provides that Bank of America would make advances to Borrower

up to the loan amount of $600,000 for the purpose of financing the operation, refurbishment, of

Borrower’s professional dental practice (defined in the Loan Agreement as the “Project”). (See

Hamilton Aff. ¶ 6 and Exh. A at §§ 4, 47(v).)

       The borrower identified in the Loan Agreement was initially listed as Jones, McGeathy,

DDS. (See Hamilton Aff. ¶ 7 and Exh. A.) In a Change Notification and Acknowledgment

dated July 26, 2011, the borrowing entity was changed from Jones, McGeathy, DDS to Kids 2

Adults Dental, LLC.       (See Hamilton Aff. ¶ 8 and Exh. B: Change Notification and

Acknowledgement.) Subsequently, in another Change Notification and Acknowledgment dated

April 3, 2012, the borrowing entity was changed from Kids 2 Adults Dental, LLC to A World of

Smiles, LLC (hereafter “Borrower”). (See Hamilton Aff. ¶ 9 and Exh. C: Change Notification

and Acknowledgment.)



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       The Loan Agreement contemplates a Project Closing Date at which point the loan would

be converted to a permanent loan. (See Hamilton Aff. ¶ 10 and Exh. A at §§ 3, 47(w).)         The

Loan Agreement also provides that “if any monthly payment is not paid on or before the ninth

(9th) day after the Payment Date a late charge will be assessed on the account of Borrower for the

indebtedness in an amount equal to the greater of: (a) $0.15 per dollar of any late Monthly

Payment, or (b) $15.00.” (See Hamilton Aff. ¶ 11 and Exh. A at § 12.1.)

       In the Loan Agreement, Borrower granted Bank of America “a security interest in the

Collateral and the proceeds of the Collateral to secure payment and performance of the

Indebtedness.” (See Hamilton Aff. ¶ 12 and Exh. A at § 14.) The Loan Agreement defined

“Collateral” to include “all of the business personal and business assets of Borrower, and if,

applicable, any Guarantor, wherever located, and now owed or hereafter acquired.”            (See

Hamilton Aff. ¶ 13 and Exh. A at § 47.) To perfect its security interest, Bank of America filed a

UCC Financing Statement with respect to the Collateral as defined in the Loan Agreement. (See

Hamilton Aff. ¶ 14 and Exh. D: UCC Financing Statement.)

       The Loan Agreement further lists several events of default under the Loan Agreement,

including the “the failure to make any payment of the Indebtedness and, except for a failure to

pay at the maturity date, such failure continues for 10 days after it first becomes due.” (See

Hamilton Aff. ¶ 15 and Exh. A at § 23.)         The Loan Agreement provides that “upon the

occurrence of an Event of Default, Lender may at its option,” declare all remaining sums due

under the Loan immediately due and payable, charge interest at the default rate, and exercise all

of Bank of America’s rights as a secured party. (See Hamilton Aff. ¶ 16 and Exh. A. at § 24.B.)

       The advances made under the Loan Agreement were converted to a permanent loan on

September 6, 2012 when the parties executed a Final Disbursement, Change & Repayment



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Schedule (the “Final Disbursement”).          (See Hamilton Aff. ¶ 17 and Exh. E: Final

Disbursement.) The Final Disbursement provides that the principal amount of the loan is

$643,461.59 with a term of 180 months at a fixed interest rate of 8.25%. (See Hamilton Aff. ¶ 18

and Exh. E.)

       Borrower defaulted under the Loan Agreement by failing to pay the monthly installment

due February 2014 and the monthly installments due thereafter. (See Hamilton Aff. ¶ 19.) In

accordance with Section 24.A of the Loan Agreement, on May 6, 2014, Bank of America

provided written notice of default to Borrower and Guarantors, giving them an opportunity to

cure the payment default. (See id. ¶ 20.) Borrower and Guarantors did not cure the default, and

as a result, on June 9, 2014, Bank of America exercised its right to accelerate all sums due under

the Loan Agreement. (See id. ¶ 21.) Borrower and Guarantors, however, have not paid the

amounts due under the Loan Agreement. (See id. ¶ 22.)

       B.      The Parties’ Forbearance Agreements.

       In light of the default under the Loan Agreement described above, Bank of America

accommodated a request by Borrower to forbear from exercising its rights under the Loan

Agreement. (See Hamilton Aff. ¶ 23.) More particularly, Bank of America and Borrower

executed a Forbearance Agreement dated October 10, 2014 (the “Forbearance Agreement”).

(See Hamilton Aff. ¶ 24 and Exh. F: Forbearance Agreement.) The forbearance period under the

Forbearance Agreement expired on October 31, 2014. (See Hamilton Aff. ¶ 25 and Exh. F at §

1.1.) Further, in the Forbearance Agreement, Borrower expressly acknowledged that the total

amount of the debt owed by Borrower as of September 30, 2014 was $694,995.28.                (See

Hamilton Aff. ¶ 26 and Exh. F at § 3.1.)




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       After the forbearance period set forth in the Forbearance Agreement expired, Borrower

again requested that Bank of America continue to forbear from exercising its rights under the

Loan Agreement. (See Hamilton Aff. ¶ 27.) Accordingly, the parties executed an Amendment

to Loan Documents dated December 17, 2014 (the “First Amendment to Forbearance

Agreement”).     (See Hamilton Aff. ¶ 28 and Exh. G: First Amendment to Forbearance

Agreement.) In the First Amendment to Forbearance Agreement, Borrower again acknowledged

that the total debt owed by Borrower to Bank of America was $699,227.35 as of December 17,

2014. (See Hamilton Aff. ¶ 29 and Exh. G at Recitals E.) Further, in the First Amendment to

Forbearance Agreement, the forbearance period was extended to February 28, 2015.         (See

Hamilton Aff. ¶ 30 and Exh. G at § 1.1.) Borrower further agreed to make one final payment of

the entire amount owed by the expiration of the forbearance period, i.e, by February 28, 2015.

(See Hamilton Aff. ¶ 31 and Exh. G at § 2.1.)

       After the extended forbearance period expired on February 28, 2015, Borrower again

requested that Bank of America continue to forbear from exercising its rights under the Loan

Agreement. (See Hamilton Aff. ¶ 32.) As such, the parties executed a Second Amendment to

Forbearance Agreement dated April 3, 2015 (the “Second Amendment to Forbearance

Agreement”).     (See Hamilton Aff. ¶ 33 and Exh. H: Second Amendment to Forbearance

Agreement.) In the Second Amendment to Forbearance Agreement, Borrower acknowledged

that the amount of the debt owed to Bank of America was $693,120.17 as of April 3, 2015. (See

Hamilton Aff. ¶ 34 and Exh. H at Recitals F, G.) Further, the forbearance period was extended

to the last business day of July 2015, at which time the entire unpaid balance was due and

payable in full. (See Hamilton Aff. ¶ 35 and Exh. H at § 2.3.)




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        C.        Loan Modification Agreement.

        Borrower did not pay the unpaid balance due by the extended forbearance period, i.e, by

the last business day of July 2015. (See Hamilton Aff. ¶ 36.) The parties then entered into a

Loan Modification Agreement dated August 31, 2015 (the “Modification Agreement”). (See

Hamilton Aff. ¶ 37 and Exh. I: Modification Agreement.) The Modification Agreement provides

that the maturity date of the loan is extended to February 28, 2016, at which point all unpaid

principal, interest, and expenses shall be due payable in full. (See Hamilton Aff. ¶ 38 and Exh. I

at § 1.1.) Aside from the provisions set forth in the Modification Agreement, all other provisions

of the original Loan Agreement remained in full force and effect. (See Hamilton Aff. ¶ 39 and

Exh. I at § 1.)

        Borrower did not pay the unpaid balance by the maturity date of February 28, 2016 set

forth in the Modification Agreement. (See Hamilton Aff. ¶ 40.) Consequently, by letter dated

March 4, 2016, Bank of America (through counsel) notified Borrower and Guarantors of the

default and provided Borrower and Guarantors 30 days to pay all sums due under the Loan

Agreement. (See Hamilton Aff. ¶ 41 and Exh. J: March 4, 2016 letter.) Borrower and Guarantor

have not paid the remaining amounts owed under the Loan Agreement, thus prompting this

lawsuit. (See Hamilton Aff. ¶ 42.)

        As of May 31, 2016, the amount due from, and unpaid by Borrower and Guarantors, is

as follows:

                  Unpaid principal           $672,736.97
                  Interest                   $29,809.29
                  Late Fees                  $6,520.62
                  Total                      $709,066.88

        plus interest accruing thereafter at the daily rate of $154.16, together with late charges,

attorneys’ fees, expenses and costs that accrued as of May 31, 2016, and that continue to accrue

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thereafter, until all obligations of Borrower and Guarantors to Bank of America under the Loan

Agreement are paid in full. (See Hamilton Aff. ¶ 43.)

       D.     Attorneys’ Fees.

       The Loan Agreement expressly allows for the recovery of attorneys’ fees incurred to

collect sums due under the Loan Agreement. (See Hamilton Aff. ¶ 44 and Exh. A at § 22

(allowing for “reasonable fees and costs of attorneys employed by Lender for any purposed

related to this Agreement or the Indebtedness including consultation, drafting documents,

sending notices or instituting, prosecuting or defending nay proceedings”).) Bank of America

has engaged the law firm of McGlinchey Stafford, PLLC to enforce its rights under the Loan

Agreement, the Modification Agreement, and related agreements and to institute these

proceedings to collect the amounts due, and seek the recognition of Bank of America’s security

interest under the Loan Agreement. (See Hamilton Aff. ¶ 45.)

                           SUMMARY JUDGMENT STANDARD

       Rule 56 of the Federal Rules of Civil Procedure states that “a party may move for

summary judgment, identifying each claim or defense – or the part of each claim or defense on

which summary judgment is sought.” See Fed. R. Civ. P. 56(a); see also Jones v. State Farm

Mut. Auto Ins. Co., 791 F.3d 447, 451 (5th Cir. 2013). And “the court shall grant summary

judgment if the movant shows that there is no genuine issue as to any material fact and the

movant is entitled to judgment as a matter of law.” See Fed. R. Civ. P. 56(a). In that regard, “a

genuine dispute about a material fact exists when the evidence presented on summary judgment

is such that a reasonable jury could find in favor of the non-moving party.” See Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). Moreover, “the party moving for summary

judgment bears the burden of identifying the portions of the record that demonstrate the absence



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of a genuine issue of material facts.” See EEOC v. Chevron Phillips Chem. Co., LP, 570 F.3d

606, 615 (5th Cir. 2009) (citing Washburn v. Harvey, 504 F.3d 505, 508 (5th Cir. 2007)).

       In this case, Bank of America seeks summary judgment on its claims under the Loan

Agreement executed by Borrower and the Guaranty executed by Guarantors. Indeed, courts

have noted that “suits to enforce promissory notes are especially appropriate for disposition by

summary judgment.” See Lasmot Realty Corp. v. Eye, Ear, Nose & Throat Hosp., No. 90-4190,

1993 WL 218247, at *1 (E.D. La. June 15, 1993) (citing Resolution Trust Corp. v. Marshall, 939

F.2d 274 (5th Cir. 1991)).

                                         ARGUMENT

       A.      Borrower and Guarantor Are Liable For the Amounts Owed Under the
               Loan Agreement.

       In this case, there is no dispute that Borrower executed the Loan Agreement on May 1,

2011 and that the loan was converted to a permanent loan on September 6, 2012. (See Hamilton

Aff. ¶¶ 3, 17 and Exhs. A, E.). Moreover, there is no dispute that Guarantors executed a binding

Guaranty in which they guaranteed Borrower’s obligations to Bank of America. (See Hamilton

Aff. ¶ 5 and Exh. A at Guaranty.) In addition, after Borrower defaulted under the terms of the

Loan Agreement, the parties executed a series of forbearance agreements in which Borrower and

Guarantors acknowledged their default under the Loan Agreement and acknowledged the

amounts owed. (See Hamilton Aff. ¶¶ 23-35 and Exhs. F, G, H.) The parties further executed a

Modification Agreement that provided for a maturity date of February 28, 2016, but Borrower

neglected to pay the entire amount due by that date. (See Hamilton Aff. ¶ 36-42 and Exh. I.)

       Under these circumstances, the Loan Agreement and the Guaranty are binding on, and

enforceable, against Borrower and Guarantors. See Am. Bank v. Saxena, 553 So. 2d 836, 842

(La. 1989) (unless specifically denied in pleadings, each signature on an instrument is admitted


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and holder thus makes out case by mere production of instrument); Dulin v. Levis Mitsubishi,

Inc., 2001-2457 (La. App. 1st Cir. 12/20/02), 836 So. 2d 340, 345 (“A person who signs a

written contract is presumed to know its contents and cannot avoid its obligations by contending

he did not read it or that it was not explained or that he did not understand it”), writ denied,

2003-0218 (La. 3/28/03), 840 So. 2d 576; Griffin v. Lago Espanol, L.L.C., 2000-2544 (La. App.

1st Cir. 2/15/02), 808 So. 2d 833, 840 (same); Boh Bros. Constr. Co. v. Price, 2000-2233 (La.

App. 4th Cir. 8/29/01), 800 So. 2d 898, 902, writ denied, 2001-2623 (La. 12/14/01), 804 So. 2d

634.

        Thus, it is undisputed that Borrower owes Bank of America the amounts due under the

Loan Agreement.       Likewise, it is undisputed that Guarantors unconditionally guaranteed

Borrower’s obligations, which means that Guarantors are personally liable for Borrower’s breach

of the Loan Agreement. See La. Civ. Code art. 3035 (suretyship, or guarantee, is “an accessory

contract by which a person binds himself to a creditor to fulfill the obligation of another upon the

failure of the latter to do so”); La. Civ. Code art. 3036 (a suretyship, or guarantee, “may be

established for any lawful obligation . . . [t]he principal obligation may be subject to a term or

condition, may be presently existing, or arise in the future”); La. Civ. Code art. 3039

(“[s]uretyship is established upon receipt by the creditor of the writing evidencing the surety’s

obligation . . . [and t]he creditor’s acceptance is presumed and no notice of acceptance is

required”); Guar. Bank & Trust Co. v. Jones, 489 So. 2d 368, 369-70 (La. App. 5th Cir. 1986)

(contract of guaranty, or suretyship, is to be enforced as a contract in general); FDIC v. Cardinal

Oil Well Servicing Co., Inc., 837 F.2d 1369, 1371 (5th Cir. 1988) (guaranty agreements

guaranteeing “‘any and all existing and future indebtedness and liability of any kind … from

[debtor] to the Bank … howsoever and whenever created, or advised, or evidenced, or acquired’”



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were unambiguous and warranted summary judgment against guarantors, including for future

debts).

          Further, there is no dispute that Borrower defaulted under the Loan Agreement. (See

Hamilton Aff. ¶¶ 19-42 and Exhs. F, G, H, I.) Despite demand by Bank of America, neither

Borrower nor Guarantor have paid any amounts to cure Borrower’s default under the Loan

Agreement. (See Hamilton Aff. ¶¶ 19-42.) Also, there is no dispute as to the amounts owed by

Borrower and Guarantor, as evidenced by the Hamilton Affidavit, the amounts owed under the

Amended Loan Agreement as of May 31, 2016 are as follows:

                 Unpaid principal              $672,736.97
                 Interest                      $29,809.29
                 Late Fees                     $6,520.62
                 Total                         $709,066.88

plus interest accruing thereafter at the daily rate of $154.16, together with late charges, attorneys’

fees, expenses and costs that accrued as of May 31, 2016, and that continue to accrue thereafter,

until all obligations of Borrower and Guarantors to Bank of America under the Loan Agreement

are paid in full. (See Hamilton Aff. ¶ 43.)

          Under these circumstances, Bank of America is entitled to summary judgment as a matter

of law. Indeed, this Court recently granted summary judgment to Bank of America in a similar

matter involving a similar professional practice loan. See Bank of America, N.A. v. Garden

District Pet Hospital, Inc., No. 15-1386, 2016 WL 952250 (E.D. La. March 14, 2016) (granting

summary judgment in favor of Bank of America for collection claims against borrower and

guarantor). Accordingly, Bank of America requests that this Court grant summary judgment in

its favor and against Borrower and Guarantor for the amounts owed under the Loan Agreement.




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       B.      Borrower and Guarantor Are Liable for Bank of America’s Attorneys’ Fees
               As Allowed by the Loan Agreement and the Guaranty.

       In addition, it is undisputed that Loan Agreement provides that Borrower shall pay the

attorneys’ fees and expenses incurred by Bank of America in enforcing its rights under the Loan

Agreement. (See Hamilton Aff. ¶ 44 and Exh. A at § 22.) Bank of America has retained the

McGlinchey Stafford law firm to institute these proceedings and to collect the sums due Bank of

America under the Loan Agreement and Guaranty. (See Hamilton Aff. ¶ 45.)

       Under these circumstances, Bank of America is entitled to recover from Borrower and

Guarantors, in solido, the attorneys’ fees incurred in connection with this suit and the collection

of the amounts owed by Borrower and Guarantor. See La. Civ. Code art. 2000 (“If the parties,

by written contract, have expressly agreed that the obligor shall also be liable for the obligee’s

attorney’s fees in a fixed or determinable amount, the obligee is entitled to that amount as well”);

Stewart & Stevenson Servs., Inc. v. Superior Boat Works, Inc., Nos. 94-2332, 94-2693, 1996 WL

470642, at *7-8 (E.D. La. Aug. 16, 1996) (attorney’s fee provision in guarantee agreements

enforceable); CIT Group/Equip. Fin., Inc. v. Airport Shuttle Inc., No. 06-3272, 2008 WL

393696, at *1 (E.D. La. Feb. 11, 2008) (same).




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                                       CONCLUSION

       For the foregoing reasons, Bank of America, N.A. prays that, pursuant to Federal Rule of

Civil Procedure 56, this Court:

       1.      Grant summary judgment in favor of Bank of America, N.A. and against

Defendants, A World of Smiles, LLC f/k/a Kids 2 Adults Dental, LLC, Brigette N. Jones, and

Norman L. McGeathy III, jointly, severally and in solido, in the following amounts:

               a.     Unpaid principal in the amount of $672,736.97;

               b.     Accrued but unpaid interest in the amount of $29,809.29 as of May 31,
                      2016;

               c.     Late Fees of $6,520.62; and

               d.     Interest and late charges accruing after May 31, 2016, together with all
                      costs, fees (including attorneys’ fees), expenses and charges that have
                      accrued as of, and continue to accrue after May 31, 2016, until all of the
                      indebtedness of A World of Smiles, LLC f/k/a Kids 2 Adults Dental LLC,
                      Brigette Jones, and Norman McGeathy III is paid to Bank of America,
                      N.A. in full; and

       2.      Grant summary judgment in favor of Bank of America, N.A. recognizing the

enforceability of the security interests created by the Loan Agreement executed by World of

Smiles, LLC.

                                            Respectfully submitted,


                                            /s/ Gabriel A. Crowson
                                            Gabriel A. Crowson, T.A. (#28009)
                                            Mark R. Deethardt (#34511)
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                                            Counsel for Plaintiff, Bank of America, N.A.



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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was filed electronically and served on all

counsel of record, via the Court’s CM/ECF system, this 2nd day of June, 2016.

                                                   /s/ Gabriel A. Crowson
                                                   Gabriel A. Crowson




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